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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

PATRICK & TERESA EDWARDS,                      )
                                               )
       Plaintiffs,                             )
                                               )
v.                                             )   CIVIL ACT. NO. 2:09cv968-CSC
                                               )
BANK OF AMERICA HOME LOANS                     )
SERVICING, LP, a subsidiary of                 )
BANK OF AMERICA, N.A.,                         )
                                               )
       Defendant.                              )

                                   FINAL JUDGMENT

       Upon consideration of the joint stipulation for dismissal (doc. # 26) filed on

September 24, 2010, it is

       ORDERED and ADJUDGED that this case be and is hereby DISMISSED without

prejudice, each party to bear its own costs. It is further

       ORDERED that all pending deadlines are terminated and all pending motions are

hereby DENIED as moot.

       Done this 24th day of September, 2010.




                                         /s/Charles S. Coody
                                    CHARLES S. COODY
                                    UNITED STATES MAGISTRATE JUDGE
